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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


REYNALDO MUNOZ,                                )
                                               )       Case No. 23-cv-03210
                       Plaintiff,              )
                                               )       Judge Sharon Johnson Coleman
               v.                              )
                                               )
REYNALDO GUEVARA, GERI LYNN                    )
YANOW, as special representative of            )
ERNEST HALVORSEN, EDWIN                        )
DICKINSON, MICHAEL O’GRADY,                    )
JEAN MORETH, LEE EPPLEN,                       )
UNKNOWN OFFICERS OF THE                        )
CHICAGO POLICE DEPARTMENT                      )
and the CITY OF CHICAGO,                       )
                                               )
                       Defendants.             )

                          MEMORANDUM OPINION AND ORDER

       Plaintiff Reynaldo Munoz brings constitutional and state law claims against six individual

police officers (collectively “Defendant Officers”) and a 42 U.S.C. § 1983 Monell claim against the City

of Chicago (the “City” or “City of Chicago”) (collectively, “Defendants”). Before the Court is

Defendants’ Federal Rule of Civil Procedure 42(b) motion to bifurcate Plaintiff’s Monell claim against

the City of Chicago and to stay discovery and trial on this claim. For the following reasons, the Court

denies Defendants’ motion without prejudice.

Background

       Plaintiff filed this suit against Defendant Officers for actions stemming from his arrest,

prosecution, and conviction for the 1985 murder of Ivan Mena and the attempted murder of Bouvier

“Bobby” Garcia. (Dkt. 93.) Plaintiff alleges that Defendants violated his due process rights by

fabricating evidence, concealing exculpatory evidence, and coercing witnesses. (Id.) Plaintiff also

alleges that Defendants conspired to deprive Plaintiff of his constitutional rights and failed to
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intervene to protect those rights, as well as other federal and state law claims.

        Along with these claims against Defendant Officers, Plaintiff brings a Monell claim against the

City of Chicago alleging that the constitutional violations he suffered were carried out by Defendant

Officers in accordance with the City’s policies, practices, and customs. Specifically, Plaintiff alleges

that the City failed to train, supervise, and discipline Defendant Officers, and that the City had the

following “de facto policies, practices and/or customs”: manufacturing and fabricating false witness

statements, filing false reports, giving false testimony, suppressing evidence; pursuing and obtaining

wrongful convictions; and perpetuating, encouraging, and condoning a code of silence among police

officers. (Id.)

        On February 20, 2024, Defendants filed a joint motion to bifurcate Plaintiff’s § 1983 Monell

claim against the City of Chicago and stay discovery and trial on this claim. Discovery on Plaintiff’s

Monell claim has been stayed during the pendency of this motion.

        The Court now considers Defendants’ motion.

Legal Standard

        Rule 42(b) authorizes the Court to order a separate trial of one or more separate claims “[f]or

convenience, to avoid prejudice, or to expedite and economize.” Fed. R. Civ. P. 42(b). Because

bifurcation risks additional delay by litigating a case in a piecemeal fashion, bifurcation is the exception

and not the rule. A.L. Hansen Mfg. Co. v. Bauer Products, Inc., No. 03-cv-03642, 2004 WL 1125911, at

*2 (N.D. Ill. May 18, 2004) (Ashman, Mag. J.). This is particularly so in the Seventh Circuit, where

“the weight of authority holds that bifurcation is now heavily disfavored.” Awalt v. Marketti, No. 11-

cv-06142, 2012 WL 1161500, at *10 n.2 (N.D. Ill. Apr. 9, 2012) (Kendall, J.).

        Despite this weight of authority, the ultimate decision to bifurcate under Rule 42(b) is within

the Court’s discretion. Houseman v. U.S. Aviation Underwriters, 171 F.3d 1117, 1121 (7th Cir. 1999). A

court may may separate claims or issues for trial if the separation would prevent prejudice to a party


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or promote judicial economy. Id. If one of these criteria is met, the court may order bifurcation “as

long as doing so will not prejudice the non-moving party or violate the Seventh Amendment.” Chlopek

v. Federal Ins. Co., 499 F.3d 692, 700 (7th Cir. 2007). Pertinent to this case, a district court also has

wide discretion with respect to discovery matters, and Federal Rule of Civil Procedure 26(d) allows a

court to stay discovery on Monell claims. Fed. R. Civ. P. 26(d); Bradford v. City of Chicago, No. 16-cv-

01663, 2019 WL 5208852, at *2 (N.D. Ill. Oct. 16, 2019) (Durkin, J.)

Discussion

    A. Prevent prejudice to a party

        The City argues that bifurcation would prevent prejudice in two ways. First, the City argues

that bifurcating Plaintiff’s Monell claim is necessary to “protect[] all Defendants from the inevitable

prejudice caused by the introduction at trial of evidence relating to numerous claims of alleged police

misconduct that are not related to Plaintiff’s case.” (Dkt. 93.) Specifically, the City argues that the

“presentation of broad evidence of the City’s alleged customs and practices” by Plaintiff during trial

“would be unduly prejudicial and would likely cause significant juror confusion.” (Id.) Next, the City

argues that bifurcation is necessary to distinguish Plaintiff’s Monell claim from its respondeat superior

claim. Without bifurcation, Defendants argue, “[a] jury asked to weigh evidence of individual

employee misconduct and policy evidence may conflate the broad evidence on Monell liability as proof

of the City’s derivative liability under a respondeat superior theory.” (Id.)

        Neither of these arguments is persuasive at the present stage of litigation. As the parties are

still engaged in fact discovery, Defendants’ concerns about the prejudicial impact of Plaintiff’s

arguments at trial are speculative at best. And while Defendants’ point to a prior holding of this court

to argue that “limiting instructions and stipulations [will be] insufficient to ameliorate the potential

prejudice to Defendants,” (Dkt. 93) (citing Washington v. Boudreau, No. 16-cv-01893, 2023 WL 184239,

at *6 (N.D. Ill. Jan. 13, 2023) (Kness, J.), they do not provide any support that this case in fact


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“presents one of those perhaps-rare occasions” where the presumption that “limiting instructions cure

everything” is rebutted. United States v. Chaparro, 956 F.3d 462, 482 (7th Cir. 2020); see also Medina v.

City of Chicago, 100 F. Supp. 2d 893, 898 (N.D. Ill. 2000) (Kennelly, J.) (“[O]ur system generally trusts

jurors to understand and follow limiting instructions regarding consideration of evidence against some

defendants and not others—even in criminal cases, where a person’s liberty is at stake.”). If after the

close of discovery and dispositive motions it becomes clear that Plaintiff’s arguments present a risk of

prejudice to Defendant Officers that cannot be cured by a limiting instruction, Defendants may raise

the issue of bifurcation at that time.

         For these reasons, the Court finds that bifurcation is not necessary to prevent prejudice to a

party.

    B. Promoting judicial economy

         The City argues that bifurcating Plaintiff’s Monell claim will promote efficiency and judicial

economy by avoiding the need for two trials. Because of the nature of the constitutional violations

alleged by Plaintiff, the City argues, “it is not possible for a jury to find Monell liability against the City

without first finding Defendant Officers liable.” (Dkt. 93.) As such, if the jury finds that Defendant

Officers are not liable, then there could not be a second trial on the Monell claim. Alternatively, if the

jury finds that Defendant Officers are liable, the City argues that its “statutory and contractual

obligation to indemnify Defendant Officers” obviates the need for a second trial.

         To the first argument, the City points to the Seventh Circuit’s holding in Thomas v. Cook County

Sheriff’s Dep’t., 604 F.3d 293 (7th Cir. 2010) to argue that “[n]one of [Plaintiff’s] claims are viable unless

the jury first finds that Defendant Officers violated Plaintiff’s constitutional rights.” (Dkt. 93.) As to

the second, the City notes that a prevailing plaintiff “is not entitled to any additional recovery of

compensatory damages against the City, even if he is successful in proving Monell liability.” (Id.)

(citing 745 ILCS 10/9-102). The City further argues that the proposed consent judgment would allow


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Plaintiff to obtain compensatory damages even if Defendant Officers assert and prevail on a qualified-

immunity defense “as long as he proves his constitutional rights were violated.” (Dkt. 93.)

        As with its arguments regarding prejudice, the City’s arguments are unavailing. In Thomas, the

Seventh Circuit rejected the argument that a municipality can only be held liable for damages under

Monell if the officer(s) are first found to be liable. 604 F.3d at 305. Instead, the court held that a

municipality can be held liable under Monell even when its officers are not “unless such a finding would

create an inconsistent verdict.” Id. (emphasis in original). To determine whether a finding would be

inconsistent, the courts must “look to the nature of the constitutional violation, the theory of

municipal liability, and the defenses set forth.” Id.

        While Plaintiff asserts numerous violations of constitutional rights that could result in an

inconsistent finding under Thomas, here, as explained by other courts in this district, a jury could find

that Defendant Officers were not responsible for suppressing exculpatory evidence yet still determine

that the City’s file-keeping system prevented the disclosure of this evidence. See, e.g., Rodriguez v.

Guevara, et al., No. 18-cv-07951, Dkt. 68 (N.D. Ill. Dec. 17, 2019) (Rowland, J.) (collecting cases);

Gomez v. Guevara et al., No. 18-cv-03335, Dkt. 51 (N.D. Ill. April 4, 2019) (Kocoras, J.) (same). And

though the City’s proposed consent judgment, if it were accepted by Plaintiff, may in fact ensure that

the Plaintiff is appropriately compensated if Defendant Officers are found liable, the consent

judgment would not address Plaintiff’s “‘legitimate non-economic motivators to pursue a Monell claim

against the City,’ including deterring future misconduct and shining a light on unconstitutional policies

through a judgment finding the City liable based on its policies, practices, or customs.” Rodriguez v.

City of Chicago, No. 17-cv-07248, 2018 WL 3474538, at *3 (N.D. Ill. July 19, 2018) (Kim, Mag. J.)

(quoting Est. of Loury by Hudson v. City of Chicago, No. 16-cv-04452, 2017 WL 1425594, at *5 (N.D. Ill.

Apr. 20, 2017) (St. Eve, J.). As such, regardless of whether Defendant Officers are found liable, a

second trial on the bifurcated Monell claim may still be necessary or desired by Plaintiff to achieve the


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relief sought.

        For these reasons, the Court finds that bifurcation is not necessary to promote judicial

economy.

    C. Stay of Discovery

        Along with their arguments regarding the impact of bifurcating Plaintiff’s Monell claim on trial,

Defendants also argue that bifurcating and staying discovery on the Monell claim would avoid a

“contentious and time-consuming” discovery process. (Dkt. 93.) But this assumes that Plaintiff’s

Monell claim would never go to trial, an argument the Court dispensed of above. Instead, staying

discovery on the Monell claim until after resolution of Plaintiff’s claims against Defendant Officers

would likely extend the length of litigation by requiring two separate rounds of discovery. As this

court reasoned in a prior analogous case, “bifurcating Monell discovery only tends to prolong the case

and leads to unnecessary disputes as to the appropriate scope of non-Monell versus Monell discovery.”

Sierra v. Guevara, No. 18-cv-03029, Dkt. 88 (N.D. Ill. Nov. 7, 2018) (Lee, J.) To this point, this case is

one of several involving the City of Chicago’s policies and practices and Defendant Officers Guevara

and Halvorsen, which will likely reduce the burden of discovery against the City. Id. (noting that

“while the Monell discovery may not completely overlap or even substantially overlap” with other

ongoing cases, “the city certainly has a good start on how it would go about searching for discovery

that would be the subject of plaintiff’s Monell claims”).

        Finally, the Court is mindful that although discovery on Plaintiff’s Monell claim has been stayed

while Defendants’ motion has been under advisement, fact discovery on Plaintiff’s remaining claims

has continued to proceed. As such, the Court expects the parties to address and resolve any issues

related to the scope, breadth, and duration of discovery on Plaintiff’s Monell claim through normal

motion practice before the Court.




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Conclusion

        Because bifurcation would not avoid prejudice or promote judicial economy, Defendants’ joint

motion to bifurcate and to stay discovery and trial is denied without prejudice [93]. Parties are directed

to file a proposed discovery schedule on Plaintiff’s Monell claim before the Magistrate Judge. If, after

the close of discovery and dispositive motions, it is determined that Plaintiff’s arguments may present

a risk of prejudice to Defendant Officers at trial that cannot be cured by a limiting instruction to the

jury, Defendants may again raise the issue of bifurcation at that time.

IT IS SO ORDERED.




Date: 11/25/2024

                                                Entered: _____________________________
                                                         SHARON JOHNSON COLEMAN
                                                         United States District Judge




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